Case No.

Case 2:21-cr-00075-MGS. Dacumenty ate « ARCH Core 1of2 Page ID #:3018

CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - TRIAL

2:21-cr-00075-MCS-2 Date March 21, 2022

 

 

Present: The Honorable Mark C. Scarsi, United States District Judge

 

 

 

 

 

 

Interpreter Wayne Chan (Mandarin)
Stephen Montes Kerr Katie Thibodeaux Julia Hu and Maria Jhai
Deputy Clerk Court Reporter/Recorder Assistant U.S. Attorney
U.S.A. v. Defendant(s): Present Cust. Bond Attorneys for Defendants: Present App. Ret.
Yi Chen xX xX Shaun Khojayan X XxX
6th Day COURT TRIAL Day JURY TRIAL Death Penalty Phase
One day trial; Begun (1" day); Held & continued; X Completed by jury verdict/submitted to court.

Dft #

The Jury is impaneled and sworn.

Opening statements made

 

Witnesses called, sworn and testified.

 

 

 

 

Exhibits identified Exhibits admitted

Government rests. _ Defendant(s) rest.

Motion for mistrial by is granted _ denied _ submitted
Motion for judgment of acquittal (FRCrP 29) is _ granted denied __ submitted

Closing arguments made Court instructs jury Bailiff swom

Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberations/findings.

 

 

Alternates excused _ Jury retires to deliberate Jury resumes deliberations
Finding by Court as follows: ___ Jury Verdict as follows:
2 Guilty on count(s) 10 and 21 X Not Guilty on count(s) 1, 9, and 11-19
Jury polled Polling waived
Filed Witness & Exhibit lists Filed Jury notes __ Filed Jury Instructions Filed Jury Verdict

 

 

Dft# 7? Referred to Probation Office for Investigation & Report and continued to 6/27/2022 at 3:00 p.mfor sentencing.

Dit# 2 remanded to custody. X  Remand/Release# D9628 issd. X Dft# released from custody.

 

Bond exonerated as to Dft #

Case continued to for further trial/further jury deliberation.
Other:

 

 

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Case 2:21-cr-00075-MGS. Dacumenty ate « ARCH Core 2of2 Page ID #:3019

CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - TRIAL 20

Case Number: 2:21-cr-00075-MCS-2 SMO

Defendant: Yi Chen Initials of Deputy Clerk

 

 

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